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                         Exhibit A
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                         Defendant Google LLC's Admitted Exhibits and Demonstratives


Exhibit   Exhibit Date         Beg Bates                  End Bates                       Limitation (if any)
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0001   10/XX/2015     GOOG‐DOJ‐34930643           GOOG‐DOJ‐34930651      standing objection to any embedded
                                                                            hearsay contained therein.

                                                                            Admitted into evidence subject to Plaintiffs’
RDX0002   03/11/2016       GOOG1‐00007989             GOOG1‐00008009        standing objection to any embedded
                                                                            hearsay contained therein.
RDX0003   08/03/2017     GOOG‐DOJ‐34930521           GOOG‐DOJ‐34930525      None
RDX0004   05/24/2018     GOOG‐DOJ‐06682383           GOOG‐DOJ‐06682384      None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0005   09/18/2018     GOOG‐DOJ‐34930526           GOOG‐DOJ‐34930529      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0006      2019        GOOG‐DOJ‐34930154           GOOG‐DOJ‐34930191      None
RDX0007   01/16/2019     GOOG‐DOJ‐04451987           GOOG‐DOJ‐04452024      None
RDX0008   05/XX/2020     GOOG‐DOJ‐34932865           GOOG‐DOJ‐34932865      None
RDX0009   05/XX/2021     GOOG‐DOJ‐34930531           GOOG‐DOJ‐34930532      None
RDX0010   10/18/2021     GOOG‐DOJ‐34918062           GOOG‐DOJ‐34918064      None
RDX0011   02/23/2022     GOOG‐DOJ‐34937247           GOOG‐DOJ‐34937251      None
RDX0012   06/24/2022     GOOG‐DOJ‐34930700           GOOG‐DOJ‐34930721      None
RDX0013   08/XX/2022     GOOG‐DOJ‐34933447           GOOG‐DOJ‐34933466      None
RDX0014   08/12/2022     GOOG‐DOJ‐34931557           GOOG‐DOJ‐34931606      None
RDX0015   05/XX/2023     GOOG‐DOJ‐34933392           GOOG‐DOJ‐34933446      None
RDX0016   06/XX/2023     GOOG‐DOJ‐33985650           GOOG‐DOJ‐33985716      None
RDX0018   10/05/2023     GOOG‐DOJ‐34930453           GOOG‐DOJ‐34930459      None
RDX0019   10/20/2023     GOOG‐DOJ‐33903037           GOOG‐DOJ‐33903146      None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0020   12/XX/2023     GOOG‐DOJ‐34930035           GOOG‐DOJ‐34930066      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0021   01/15/2024     GOOG‐DOJ‐34844020           GOOG‐DOJ‐34844049      None




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                                                                            Admitted into evidence subject to Plaintiffs’
RDX0022    02/09/2024    GOOG‐DOJ‐34799123           GOOG‐DOJ‐34799172      standing objection to any embedded
                                                                            hearsay contained therein.
 RDX0023   03/18/2024    GOOG‐DOJ‐33903805           GOOG‐DOJ‐33903870      None
RDX0023A   03/18/2024                                                       None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0024    03/20/2024    GOOG‐DOJ‐34287277           GOOG‐DOJ‐34287278      standing objection to any embedded
                                                                            hearsay contained therein.

                                                                            Admitted into evidence subject to Plaintiffs’
RDX0025    04/XX/2024    GOOG‐DOJ‐34929956           GOOG‐DOJ‐34930009      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0026    04/03/2024    GOOG‐DOJ‐34932425           GOOG‐DOJ‐34932428      None
RDX0027    04/29/2024    GOOG‐DOJ‐34284573           GOOG‐DOJ‐34284669      None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0028    05/XX/2024    GOOG‐DOJ‐33806292           GOOG‐DOJ‐33806337      standing objection to any embedded
                                                                            hearsay contained therein.

                                                                       Admitted into evidence subject to Plaintiffs’
RDX0029    05/09/2024    GOOG‐DOJ‐33821018          GOOG‐DOJ‐338210121 standing objection to any embedded
                                                                       hearsay contained therein.

                                                                            Admitted into evidence subject to Plaintiffs’
RDX0030    05/16/2024    GOOG‐DOJ‐33937702           GOOG‐DOJ‐33937709      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0031    05/21/2024    GOOG‐DOJ‐34932049           GOOG‐DOJ‐34932050      None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0032    05/24/2024    GOOG‐DOJ‐34933263           GOOG‐DOJ‐34933275      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0033    06/XX/2024    GOOG‐DOJ‐34930564           GOOG‐DOJ‐34930621      None


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                         Defendant Google LLC's Admitted Exhibits and Demonstratives


                                                                            Admitted into evidence subject to Plaintiffs’
RDX0034    06/04/2024    GOOG‐DOJ‐33961659           GOOG‐DOJ‐33961700      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0035    06/20/2024    GOOG‐DOJ‐33759550           GOOG‐DOJ‐33759550      None
RDX0036    07/16/2024    GOOG‐DOJ‐34932029           GOOG‐DOJ34932032       None
RDX0037    08/28/2024    GOOG‐DOJ‐34918112           GOOG‐DOJ‐34918113      None
RDX0038    09/XX/2024    GOOG‐DOJ‐34811186           GOOG‐DOJ‐34811224      None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0039    09/XX/2024    GOOG‐DOJ‐34846753           GOOG‐DOJ‐34846807      standing objection to any embedded
                                                                            hearsay contained therein.

                                                                            Admitted into evidence subject to Plaintiffs’
RDX0040    09/05/2024    GOOG‐DOJ‐33859197           GOOG‐DOJ‐33859245      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0041    10/XX/2024    GOOG‐DOJ‐34926143           GOOG‐DOJ‐34926145      None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0042    10/XX/2024    GOOG‐DOJ‐33971473           GOOG‐DOJ‐33971521      standing objection to any embedded
                                                                            hearsay contained therein.

                                                                            Admitted into evidence subject to Plaintiffs’
RDX0042A   10/XX/2024                                                       standing objection to any embedded
                                                                            hearsay contained therein.

                                                                            Admitted into evidence subject to Plaintiffs’
RDX0043    10/XX/2024    GOOG‐DOJ‐33963925           GOOG‐DOJ‐33963943      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0044    10/XX/2024     GOOG2‐00004903              GOOG2‐00004933        None
RDX0045    10/XX/2024    GOOG‐DOJ‐34241715           GOOG‐DOJ‐34241786      None
RDX0046    10/09/2024     GOOG2‐00001688              GOOG2‐00001696        None
RDX0047    10/16/2024     GOOG2‐00001697              GOOG2‐00001701        None
RDX0048    10/16/2024    GOOG‐DOJ‐34316054           GOOG‐DOJ‐34316171      None


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RDX0049    10/23/2024    GOOG‐DOJ‐34930447           GOOG‐DOJ‐34930452      None
RDX0050    11/XX/2024    GOOG‐DOJ‐34936125           GOOG‐DOJ‐34936171      None
RDX0051    11/13/2024    GOOG‐DOJ‐34930433           GOOG‐DOJ‐34930435      None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0052    11/22/2024    GOOG‐DOJ‐34845002           GOOG‐DOJ‐34845084      standing objection to any embedded
                                                                            hearsay contained therein.
 RDX0053   11/27/2024    GOOG‐DOJ‐34917944           GOOG‐DOJ‐34917945   None
 RDX0054   12/19/2024    GOOG‐DOJ‐34917658           GOOG‐DOJ‐34917673   None
 RDX0055   12/23/2024    GOOG‐DOJ‐34918950           GOOG‐DOJ‐34918950   None
RDX0055A   12/23/2024                                                    None
 RDX0056   01/06/2025    GOOG‐DOJ‐34934022          GOOG‐DOJ‐34934023 None
 RDX0057   01/16/2025    GOOG‐DOJ‐34926062          GOOG‐DOJ‐34926142 None
 RDX0058   01/17/2025    GOOG‐DOJ‐34930657          GOOG‐DOJ‐34930666 None
 RDX0059   01/28/2025    GOOG‐DOJ‐34933292          GOOG‐DOJ‐34933294 None
 RDX0060   02/05/2025    GOOG‐DOJ‐34930732         GOOG‐DOJ‐34930732.014 None
 RDX0061   02/17/2025    GOOG‐DOJ‐34931504          GOOG‐DOJ‐34931504 None
 RDX0062   03/03/2025    GOOG‐DOJ‐34933211          GOOG‐DOJ‐34933231 None
 RDX0063   03/06/2025    GOOG‐DOJ‐34934112          GOOG‐DOJ‐34934112 None
 RDX0064   03/06/2025    GOOG‐DOJ‐34933672          GOOG‐DOJ‐34933673 None
 RDX0065                 GOOG‐DOJ‐34936172          GOOG‐DOJ‐34936173 None
 RDX0066                 GOOG‐DOJ‐34933232          GOOG‐DOJ‐34933262 None
 RDX0067                 GOOG‐DOJ‐34930758          GOOG‐DOJ‐34930777 None
 RDX0068                 GOOG‐DOJ‐34933295          GOOG‐DOJ‐34933325 None
 RDX0069                 GOOG‐DOJ‐34925393          GOOG‐DOJ‐34925444 None
 RDX0070                 GOOG‐DOJ‐34925616          GOOG‐DOJ‐34925652 None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0071                  GOOG‐DOJ‐34932169           GOOG‐DOJ‐34932348      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0072                  GOOG‐DOJ‐34925615           GOOG‐DOJ‐34925615      None




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                                                                      Admitted into evidence subject to Plaintiffs’
RDX0073   05/03/2023   APLGOOGDOJ‐01168040        APLGOOGDOJ‐01168042 standing objection to any embedded
                                                                      hearsay contained therein.

                                                                      Admitted into evidence subject to Plaintiffs’
RDX0074   05/15/2023   APLGOOGDOJ‐01168917        APLGOOGDOJ‐01168919 standing objection to any embedded
                                                                      hearsay contained therein.

                                                                      Admitted into evidence subject to Plaintiffs’
RDX0075   11/14/2023   APLGOOGDOJ‐01168165        APLGOOGDOJ‐01168166 standing objection to any embedded
                                                                      hearsay contained therein.

                                                                      Admitted into evidence subject to Plaintiffs’
RDX0076   02/19/2024   APLGOOGDOJ‐01168725        APLGOOGDOJ‐01168725 standing objection to any embedded
                                                                      hearsay contained therein.

                                                                       Admitted into evidence subject to Plaintiffs’
RDX0077   05/29/2019    DuckDuckGo‐00233064        DuckDuckGo‐00233068 standing objection to any embedded
                                                                       hearsay contained therein.

                                                                       Admitted into evidence subject to Plaintiffs’
RDX0078   08/06/2019    DuckDuckGo‐00622075        DuckDuckGo‐00622079 standing objection to any embedded
                                                                       hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0079   12/XX/2019    DuckDuckGo‐00530763         DuckDuckGo‐530771      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                       Admitted into evidence subject to Plaintiffs’
RDX0080   06/12/2023    DuckDuckGo‐00601601        DuckDuckGo‐00601604 standing objection to any embedded
                                                                       hearsay contained therein.




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                        Defendant Google LLC's Admitted Exhibits and Demonstratives


                                                                           Admitted into evidence subject to Plaintiffs’
RDX0081   06/14/2019      MSFT‐0000118125            MSFT‐0000118125       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0082   12/03/2019      MSFT‐0000139844            MSFT‐0000139845       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0083   01/19/2023      MSLIT‐0000249876           MSLIT‐0000249904      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0084   11/11/2023     MSLIT_0000088625            MSLIT_0000088627      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0085   02/20/2024     MSLIT_0000000320            MSLIT_0000000364      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0086   09/30/2024     MSLIT_0000088560            MSLIT_0000088569      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0087   10/04/2024     MSLIT_0000088044            MSLIT_0000088046      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0088   02/05/2025     MSLIT_0000185270            MSLIT_0000185270      standing objection to any embedded
                                                                           hearsay contained therein.
RDX0089   12/31/2023       GLSUB00000293                GLSUB00000319      None




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                         Defendant Google LLC's Admitted Exhibits and Demonstratives


                                                                            Admitted into evidence subject to Plaintiffs’
RDX0090   05/20/2024        GLSUB00001154                GLSUB00001178      standing objection to any embedded
                                                                            hearsay contained therein.

                                                                            Admitted into evidence subject to Plaintiffs’
RDX0091   09/16/2024        GLSUB00001179                GLSUB00001195      standing objection to any embedded
                                                                            hearsay contained therein.
RDX0092   10/24/2024       Perplexity_019770          Perplexity_019786     None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0093   10/25/2024       Perplexity_019768          Perplexity_019769     standing objection to any embedded
                                                                            hearsay contained therein.

                                                                            Admitted into evidence subject to Plaintiffs’
RDX0094   10/25/2024       Perplexity_019787          Perplexity_019787     standing objection to any embedded
                                                                            hearsay contained therein.

                       SEA‐DOJ‐REM0052234_K and
RDX0095   12/28/2023                             A‐DOJ‐REM0052234_K_003None
                           certified translation

                       SEA‐DOJ‐REM0029960_K and
RDX0096   01/05/2024                             A‐DOJ‐REM0029960_K_004None
                           certified translation
RDX0098   08/18/2022      VZGGL‐REM‐0000002          VZGGL‐REM‐0000018      None
                                                                            Admitted into evidence subject to Plaintiffs’
RDX0099   08/30/2023      VZGGL‐REM‐0002091          VZGGL‐REM‐0002092      standing objection to any embedded
                                                                            hearsay contained therein.

                                                                            Admitted into evidence subject to Plaintiffs’
RDX0100   12/11/2023      VZGGL‐REM‐0000307          VZGGL‐REM‐0000323      standing objection to any embedded
                                                                            hearsay contained therein.




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                        Defendant Google LLC's Admitted Exhibits and Demonstratives


                                                                           Admitted into evidence subject to Plaintiffs’
RDX0101   02/20/2024     VZGGL‐REM‐0001942          VZGGL‐REM‐0001950      standing objection to any embedded
                                                                           hearsay contained therein.
RDX0102     2018           YAH‐LIT‐0046610              YAH‐LIT‐0046618    None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0103   02/07/2023       YAH‐LIT‐0112338              YAH‐LIT‐0112350    standing objection to any embedded
                                                                           hearsay contained therein.
RDX0104   08/14/2023       YAH‐LIT‐0114034              YAH‐LIT‐0114075    None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0105     2024           YAH‐LIT‐0110787              YAH‐LIT‐0110787    standing objection to any embedded
                                                                           hearsay contained therein.
RDX0106   08/XX/2024       YAH‐LIT‐0110640              YAH‐LIT‐0110657    None
RDX0107   09/25/2024       YAH‐LIT‐0110678              YAH‐LIT‐0110680    None
RDX0108   10/XX/2024       YAH‐LIT‐0110844              YAH‐LIT‐0110881    None
RDX0109   01/14/2025       YAH‐LIT‐0110951              YAH‐LIT‐0110951    None
RDX0111   11/09/2021                                                       None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0112                                                                    standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0113   03/16/2023                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0114   04/05/2023                                                       standing objection to any embedded
                                                                           hearsay contained therein.




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                                                                           Admitted into evidence subject to Plaintiffs’
RDX0115   02/XX/2024                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0116   03/XX/2024                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0117   03/20/2024                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0118   05/14/2024                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0119   06/25/2024                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0120   03/24/2025                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0122   04/24/2025                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0124   11/05/2008                                                       standing objection to any embedded
                                                                           hearsay contained therein.
RDX0125   09/09/2024     GOOG‐DOJ‐34931031          GOOG‐DOJ‐34931034      None
RDX0126   01/23/2025                                                       None


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                                                                           Admitted into evidence subject to Plaintiffs’
RDX0127   01/29/2025                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0128   02/XX/2025                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0129   02/11/2025                                                       standing objection to any embedded
                                                                           hearsay contained therein.
RDX0130   02/19/2025     GOOG‐DOJ‐34930390          GOOG‐DOJ‐34930400      None
RDX0131   02/19/2025     GOOG‐DOJ‐34930401          GOOG‐DOJ‐34930407      None
RDX0132   02/25/2025     GOOG‐DOJ‐34932020          GOOG‐DOJ‐34932028      None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0133   03/05/2025                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0134   03/05/2025                                                       standing objection to any embedded
                                                                           hearsay contained therein.
RDX0135   03/24/2025                                                       None
RDX0136   03/25/2025                                                       None
RDX0137   03/26/2025                                                       None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0138   03/26/2025                                                       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0139   03/26/2025                                                       standing objection to any embedded
                                                                           hearsay contained therein.



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RDX0140                                                                None
RDX0141                                                                None
RDX0142                                                                None
RDX0143   03/31/2025                                                   None
RDX0148   12/11/2024                                                   None
RDX0149   03/31/2025                                                   None
RDX0150   01/24/2025                                                   None
RDX0151   04/18/2024                                                   None
RDX0152   04/23/2025                                                   None
RDX0162   03/06/2025                                                   None
RDX0167   04/25/2025                                                   None
RDX0170   04/24/2025                                                   None
RDX0171   09/30/2024    DuckDuckGo‐00685325        DuckDuckGo‐00685325 None
RDX0174   04/28/2025                                                   None
RDX0175   04/28/2025                                                   None
RDX0176   04/28/2025                                                   None
RDX0179   04/24/2025                                                   None
RDX0182   11/05/2008                                                   None
RDX0187   09/09/2024                                                   None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0300   07/22/2023     GOOG‐DOJ‐33863843          GOOG‐DOJ‐33863849      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0301   01/26/2024     GOOG‐DOJ‐33768098          GOOG‐DOJ‐33768097      standing objection to any embedded
                                                                           hearsay contained therein.
RDX0302   04/XX/2024     GOOG‐DOJ‐34283218          GOOG‐DOJ‐34283255      None
RDX0303   05/02/2024     GOOG‐DOJ‐34243476          GOOG‐DOJ‐34243577      None
RDX0304   07/XX/2024     GOOG‐DOJ‐33962227          GOOG‐DOJ‐33962253      None
RDX0305   09/11/2024     GOOG‐DOJ‐34248865          GOOG‐DOJ‐34248929      None
RDX0306   10/21/2024     GOOG‐DOJ‐33845737          GOOG‐DOJ‐33845792      None




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                                                                           Admitted into evidence subject to Plaintiffs’
RDX0307   05/XX/2024        AMP00003186                  AMP00003189       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0308   08/12/2024        AMP00000010                  AMP00000018       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0309   10/07/2024        AMP00000974                  AMP00000974       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0310   10/08/2024        AMP00000972                  AMP00000973       standing objection to any embedded
                                                                           hearsay contained therein.

RDX0311   04/30/2024    APLGOOGDOJ‐01168945       APLGOOGDOJ‐01168949 None

RDX0312   06/11/2024   ATTGOOG_REMEDY‐002845 ATTGOOG_REMEDY‐002858None

                                                                  Admitted into evidence subject to Plaintiffs’
RDX0313   09/XX/2024   ATTGOOG_REMEDY‐000311 ATTGOOG_REMEDY‐000314standing objection to any embedded
                                                                  hearsay contained therein.

RDX0314   10/10/2024   ATTGOOG_REMEDY‐010388 ATTGOOG_REMEDY‐010389None

                                                                        Admitted into evidence subject to Plaintiffs’
RDX0315   09/21/2017    MSFT‐LIT2_0002134979       MSFT‐LIT2_0002134993 standing objection to any embedded
                                                                        hearsay contained therein.

                                                                        Admitted into evidence subject to Plaintiffs’
RDX0316   06/15/2019    MSFT‐LIT2_0001153564       MSFT‐LIT2_0001153590 standing objection to any embedded
                                                                        hearsay contained therein.



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RDX0317   03/29/2023      MSLIT_0000076732           MSLIT_0000076751      None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0318   03/29/2023      MSLIT_0000152474           MSLIT_0000152477      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0319   06/02/2023      MSLIT_0000071252           MSLIT_0000071357      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0320   01/29/2024      MSLIT_0000031900           MSLIT_0000031935      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0321   02/06/2024      MSLIT_0000015655           MSLIT_0000015663      standing objection to any embedded
                                                                           hearsay contained therein.
RDX0322   02/06/2024      MSLIT_0000185157           MSLIT_0000185184      None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0323   04/XX/2024      MSLIT_0000015637           MSLIT_0000015338      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0324   04/25/2024      MSLIT_0000179416           MSLIT_0000179438      standing objection to any embedded
                                                                           hearsay contained therein.
RDX0325   05/01/2024      MSLIT_0000068849           MSLIT_0000068851      None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0326   05/01/2024      MSLIT_0000103897           MSLIT_0000103900      standing objection to any embedded
                                                                           hearsay contained therein.
RDX0327   06/07/2024      MSLIT_0000155324           MSLIT_0000155354      None




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                                                                           Admitted into evidence subject to Plaintiffs’
RDX0328   06/19/2024      MSLIT_0000172382           MSLIT_0000172395      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0329   06/28/2024      MSLIT_0000078829           MSLIT_0000078830      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0330   07/XX/2024      MSLIT_0000051352           MSLIT_0000051359      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0331   07/09/2024      MSLIT_0000019206           MSLIT_0000019209      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0332   07/16/2024      MSLIT_0000078690           MSLIT_0000078691      standing objection to any embedded
                                                                           hearsay contained therein.
RDX0333   08/19/2024      MSLIT_0000028699           MSLIT_0000028722      None
RDX0334   09/12/2024      MSLIT_0000078832           MSLIT_0000078851      None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0335   10/05/2024      MSLIT_0000026721           MSLIT_0000026725      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0336   10/08/2024      MSLIT_0000014689           MSLIT_0000014692      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0337   10/10/2024      MSLIT_0000077670           MSLIT_0000077702      standing objection to any embedded
                                                                           hearsay contained therein.



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                                                                           Admitted into evidence subject to Plaintiffs’
RDX0338   01/25/2023      MOZ‐LIT‐0054222             MOZ‐LIT‐0054234      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0339   10/30/2024      MOZ‐LIT‐0051007             MOZ‐LIT‐0051012      standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0340   12/XX/2024       MOZ‐LIT‐045768                MOZ‐LIT‐045806    standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0341   07/17/2023       GLSUB00019813                 GLSUB00019824     standing objection to any embedded
                                                                           hearsay contained therein.
RDX0343   02/12/2024       GLSUB00012027                 GLSUB00012028     None
RDX0344   03/XX/2024       GLSUB00015632                 GLSUB00015633     None
RDX0345   03/07/2024       GLSUB00007356                 GLSUB00007362     None
RDX0346   05/01/2024       GLSUB00016493                 GLSUB00016496     None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0347   05/01/2024       GLSUB00016470                 GLSUB00016471     standing objection to any embedded
                                                                           hearsay contained therein.
RDX0348   05/01/2024       GLSUB00016472                 GLSUB00016492     None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0349   05/30/2024       GLSUB00013576                 GLSUB00013578     standing objection to any embedded
                                                                           hearsay contained therein.
RDX0350   06/XX/2024       GLSUB00000120                 GLSUB00000128     None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0351   07/22/2024       GLSUB00005519                 GLSUB00005524     standing objection to any embedded
                                                                           hearsay contained therein.



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                                                                           Admitted into evidence subject to Plaintiffs’
RDX0352   08/09/2024       GLSUB00015857                 GLSUB00016005     standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0353   11/08/2024       GLSUB00005376                 GLSUB00005398     standing objection to any embedded
                                                                           hearsay contained therein.
RDX0355   12/02/2024       GLSUB00012207                 GLSUB00012236     None
RDX0356   01/01/2025       GLSUB00020753                 GLSUB00020792     None
RDX0357   01/07/2025       GLSUB00007601                 GLSUB00007617     None
                                                                           Admitted into evidence subject to Plaintiffs’
RDX0358   07/XX/2021      OPERA_00002283              OPERA_00002315       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0359   07/XX/2023      OPERA_00004828              OPERA_00004863       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0360   01/27/2025      OPERA_00007298              OPERA_00007300       standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0361   03/08/2024      Perplexity_015363          Perplexity_015384     standing objection to any embedded
                                                                           hearsay contained therein.

                                                                           Admitted into evidence subject to Plaintiffs’
RDX0362   10/25/2024      Perplexity_019789          Perplexity_019789     standing objection to any embedded
                                                                           hearsay contained therein.




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                                                                              Admitted into evidence subject to Plaintiffs’
RDX0362A   10/25/2024        Perplexity_019789          Perplexity_019789     standing objection to any embedded
                                                                              hearsay contained therein.
 RDX0363   10/25/2024        Perplexity_019788          Perplexity_019788     None
RDX0363A   10/25/2024        Perplexity_019788          Perplexity_019788     None
                                                                              Admitted into evidence subject to Plaintiffs’
RDX0364    04/03/2023      SEA‐DOJ‐REM0004868         SEA‐DOJ‐REM0004878      standing objection to any embedded
                                                                              hearsay contained therein.

                                                                              Admitted into evidence subject to Plaintiffs’
                        SEA‐DOJ‐REM0009086 and non‐
RDX0365    06/09/2023                                 SEA‐DOJ‐REM0009095      standing objection to any embedded
                          Bates certified translation
                                                                              hearsay contained therein.

                                                                              Admitted into evidence subject to Plaintiffs’
                        SEA‐DOJ‐REM0057290 and non‐
RDX0366    07/05/2024                                 SEA‐DOJ‐REM0057293      standing objection to any embedded
                          Bates certified translation
                                                                              hearsay contained therein.

                                                                              Admitted into evidence subject to Plaintiffs’
RDX0367    07/24/2024      SEA‐DOJ‐REM0060168         SEA‐DOJ‐REM0060174      standing objection to any embedded
                                                                              hearsay contained therein.

                                                                              Admitted into evidence subject to Plaintiffs’
RDX0368    08/10/2024      SEA‐DOJ‐REM0062170         SEA‐DOJ‐REM0062175      standing objection to any embedded
                                                                              hearsay contained therein.

                                                                              Admitted into evidence subject to Plaintiffs’
RDX0369    09/03/2024      SEA‐DOJ‐REM0056660         SEA‐DOJ‐REM0056685      standing objection to any embedded
                                                                              hearsay contained therein.

RDX0370    06/07/2022   GOOGLE_Lit‐TMO_00140137 GOOGLE_Lit‐TMO_0014015 None




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                                                                       Admitted into evidence subject to Plaintiffs’
RDX0371    02/01/2024   GOOGLE_Lit‐TMO_00143768 GOOGLE_Lit‐TMO_0014379 standing objection to any embedded
                                                                       hearsay contained therein.

                                                                       Admitted into evidence subject to Plaintiffs’
RDX0372    06/07/2024   GOOGLE_Lit‐TMO_00143020 GOOGLE_Lit‐TMO_0014302 standing objection to any embedded
                                                                       hearsay contained therein.

                                                                       Admitted into evidence subject to Plaintiffs’
RDX0373    07/24/2024   GOOGLE_Lit‐TMO_00141948 GOOGLE_Lit‐TMO_0014197 standing objection to any embedded
                                                                       hearsay contained therein.
RDX0374    04/07/2023      VZGGL‐REM‐0000398          VZGGL‐REM‐0000400      None
                                                                             Admitted into evidence subject to Plaintiffs’
RDX0375    04/24/2009                                                        standing objection to any embedded
                                                                             hearsay contained therein.

                                                                             Admitted into evidence subject to Plaintiffs’
RDX0378    07/18/2024                                                        standing objection to any embedded
                                                                             hearsay contained therein.
RDX0380    02/XX/2025                                                        None
RDX0381    02/24/2025                                                        None
                                                                             Admitted into evidence subject to Plaintiffs’
RDX0382    03/26/2024      MOTO‐DDC‐00166633          MOTO‐DDC‐00166661      standing objection to any embedded
                                                                             hearsay contained therein.
 RDX0400   07/27/2010       GOOG2‐00001716             GOOG2‐00001771        None
 RDX0401   10/26/2015      GOOG‐DOJ‐13125214          GOOG‐DOJ‐13125280      None
 RDX0402   04/06/2018      GOOG‐DOJ‐34810731          GOOG‐DOJ‐34810754      None
 RDX0403   11/08/2018      GOOG‐DOJ‐34930530          GOOG‐DOJ‐34930530      None
RDX0403A   11/08/2018      GOOG‐DOJ‐34930530          GOOG‐DOJ‐34930530      None
 RDX0404   10/30/2020       GOOG2‐00001399             GOOG2‐00001413        None
 RDX0405   10/29/2021      GOOG‐DOJ‐33742966          GOOG‐DOJ‐33742984      None


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RDX0406   12/14/2021     GOOG‐DOJ‐34810786          GOOG‐DOJ‐34810825      None
RDX0407   06/24/2022     GOOG‐DOJ‐34810762          GOOG‐DOJ‐34810774      None
RDX0408   07/12/2022      GOOG2‐00000001             GOOG2‐00000002        None
RDX0409   12/16/2022      GOOG2‐00000003             GOOG2‐00000005        None
RDX0410   03/11/2023      GOOG2‐00004856             GOOG2‐00004884        None
RDX0411   05/05/2023      GOOG2‐00000006             GOOG2‐00000007        None
RDX0412   08/28/2023      GOOG2‐00000162             GOOG2‐00000173        None
RDX0413   12/21/2023      GOOG2‐00000420             GOOG2‐00000443        None
RDX0414   01/01/2024     GOOG‐DOJ‐34810826          GOOG‐DOJ‐34810877      None
RDX0415   01/05/2024      GOOG2‐00000444             GOOG2‐00000445        None
RDX0416   02/16/2024      GOOG2‐00004885             GOOG2‐00004902        None
RDX0417   02/20/2024      GOOG2‐00000446             GOOG2‐00000449        None
RDX0418   04/22/2024      GOOG2‐00000182             GOOG2‐00000216        None
RDX0419   05/03/2024      GOOG2‐00000292             GOOG2‐00000294        None
RDX0420   05/28/2024      GOOG2‐00001461             GOOG2‐00001493        None
RDX0421   05/30/2024      GOOG2‐00000008             GOOG2‐00000022        None
RDX0422   05/31/2024      GOOG2‐00000023             GOOG2‐00000024        None
RDX0423   06/25/2024      GOOG2‐00001063             GOOG2‐00001086        None
RDX0424   06/26/2024      GOOG2‐00000340             GOOG2‐00000341        None
RDX0425   06/27/2024      GOOG2‐00000128             GOOG2‐00000136        None
RDX0426   06/27/2024      GOOG2‐00000668             GOOG2‐00000678        None
RDX0427   06/27/2024      GOOG2‐00000689             GOOG2‐00000694        None
RDX0428   06/28/2024      GOOG2‐00000273             GOOG2‐00000281        None
RDX0429   10/04/2024      GOOG2‐00001050             GOOG2‐00001062        None
RDX0430   10/29/2024     GOOG‐DOJ‐34925181          GOOG‐DOJ‐34925185      None
RDX0431   11/16/2024     GOOG‐DOJ‐33743393          GOOG‐DOJ‐33743395      None
RDX0432   11/16/2024     GOOG‐DOJ‐33743363          GOOG‐DOJ‐33743392      None
RDX0433   11/16/2024     GOOG‐DOJ‐33743232          GOOG‐DOJ‐33743283      None
RDX0434   11/16/2024     GOOG‐DOJ‐33743284          GOOG‐DOJ‐33743339      None
RDX0435   11/16/2024     GOOG‐DOJ‐33743340          GOOG‐DOJ‐33743362      None
RDX0436   12/04/2024     GOOG‐DOJ‐34926003          GOOG‐DOJ‐34926009      None
RDX0437   12/12/2024     GOOG‐DOJ‐33811114          GOOG‐DOJ‐33811118      None
RDX0438   12/13/2024     GOOG‐DOJ‐33811119          GOOG‐DOJ‐33811125      None
RDX0439   12/30/2024     GOOG‐DOJ‐34811958          GOOG‐DOJ‐34811959      None


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RDX0440   01/17/2025     GOOG‐DOJ‐34925445          GOOG‐DOJ‐34925454      None
RDX0441   02/05/2025     GOOG‐DOJ‐34925192          GOOG‐DOJ‐34925194      None
RDX0442   02/07/2025     GOOG‐DOJ‐34925195          GOOG‐DOJ‐34925201      None
RDX0443   02/10/2025     GOOG‐DOJ‐34925673          GOOG‐DOJ‐34925678      None
RDX0444   02/10/2025     GOOG‐DOJ‐34925653          GOOG‐DOJ‐34925672      None
RDX0445   01/09/2023    APLGOOGDOJ‐01166811       APLGOOGDOJ‐01166815 None

RDX0446   05/28/2023    APLGOOGDOJ‐01166884       APLGOOGDOJ‐01166885 None

RDX0447   03/14/2024    APLGOOGDOJ‐01166822       APLGOOGDOJ‐01166826 None

RDX0448   05/03/2024    APLGOOGDOJ‐01166827       APLGOOGDOJ‐01166878 None

RDX0449   08/12/2024    APLGOOGDOJ‐01166816       APLGOOGDOJ‐01166821 None

RDX0450   08/31/2024    APLGOOGDOJ‐01166886       APLGOOGDOJ‐01166893 None

RDX0451   01/06/2020    DuckDuckGo‐00044410        DuckDuckGo‐00044453 None

RDX0452   12/02/2020    DuckDuckGo‐00020279        DuckDuckGo‐00020285 None

RDX0453   12/17/2020    DuckDuckGo‐00502624        DuckDuckGo‐00502629 None

RDX0454   05/24/2022    DuckDuckGo‐00685277        DuckDuckGo‐00685319 None

RDX0455   02/01/2024    DuckDuckGo‐00685320        DuckDuckGo‐00685322 None

RDX0456   05/30/2024    DuckDuckGo‐00685323        DuckDuckGo‐00685324 None
RDX0457   06/28/2019      MSLIT_0000000579           MSLIT_0000000614      None
RDX0458   03/05/2021      MSLIT_0000000515           MSLIT_0000000578      None
RDX0459   09/30/2022      MSLIT_0000000734           MSLIT_0000000749      None
RDX0460   01/23/2023      MSLIT_0000000635           MSLIT_0000000704      None
RDX0461   03/10/2023      MSLIT_0000000713           MSLIT_0000000716      None


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RDX0462   05/23/2023      MSLIT_0000000750           MSLIT_0000000765      None
RDX0463   06/15/2023      MSLIT_0000000710           MSLIT_0000000712      None
RDX0464   06/28/2023      MSLIT_0000000800           MSLIT_0000000801      None
RDX0465   08/01/2023      MSLIT_0000000766           MSLIT_0000000768      None
RDX0466   01/30/2024      MSLIT_0000000769           MSLIT_0000000772      None
RDX0467   03/18/2024      MSLIT_0000000615           MSLIT_0000000628      None
                          MSLIT_0000000931           MSLIT_0000000941
                          MSLIT_0000000875           MSLIT_0000000882
                          MSLIT_0000001157           MSLIT_0000001167
                          MSLIT_0000008162           MSLIT_0000008163
                          MSLIT_0000000917           MSLIT_0000000920
                          MSLIT_0000000883           MSLIT_0000000892
                          MSLIT_0000008164           MSLIT_0000008166
                          MSLIT_0000000942           MSLIT_0000000954
                          MSLIT_0000001147           MSLIT_0000001156
                          MSLIT_0000001122           MSLIT_0000001135
RDX0468                   MSLIT_0000001136           MSLIT_0000001146      None
                          MSLIT_0000001168           MSLIT_0000001179
                          MSLIT_0000000966           MSLIT_0000000976
                          MSLIT_0000000955           MSLIT_0000000965
                          MSLIT_0000000904           MSLIT_0000000916
                          MSLIT_0000008167           MSLIT_0000008185
                          MSLIT_0000008150           MSLIT_0000008161
                          MSLIT_0000001180           MSLIT_0000001195
                          MSLIT_0000000893           MSLIT_0000000903
                          MSLIT_0000008130           MSLIT_0000008140
                          MSLIT_0000000921           MSLIT_0000000930
RDX0469   01/31/2023       MOZ‐LIT‐045756             MOZ‐LIT‐045767       None
RDX0470   06/23/2024       MOZ‐LIT‐045515             MOZ‐LIT‐045523       None
RDX0471   10/04/2019       GLSUB00001036              GLSUB00001041        None
RDX0472   04/02/2020       GLSUB00001034              GLSUB00001035        None
RDX0473   05/11/2020       GLSUB00000454              GLSUB00000458        None
RDX0474   02/09/2021       GLSUB00000889              GLSUB00000897        None
RDX0475   05/06/2021       GLSUB00000960              GLSUB00000967        None


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RDX0476   08/10/2022       GLSUB00000907                 GLSUB00000910     None
RDX0477   08/22/2022       GLSUB00000625                 GLSUB00000636     None
RDX0478   12/13/2022       GLSUB00000922                 GLSUB00000926     None
RDX0479   12/23/2022       GLSUB00000917                 GLSUB00000921     None
RDX0480   02/15/2023       GLSUB00000968                 GLSUB00000972     None
RDX0481   03/14/2023       GLSUB00000952                 GLSUB00000956     None
RDX0482   03/28/2023       GLSUB00000957                 GLSUB00000959     None
RDX0483   06/05/2023       GLSUB00000927                 GLSUB00000927     None
RDX0484   07/01/2023       GLSUB00000637                 GLSUB00000651     None
RDX0485   08/09/2023       GLSUB00000911                 GLSUB00000916     None
RDX0486   10/20/2023       GLSUB00000933                 GLSUB00000944     None
RDX0487   12/01/2023       GLSUB00000904                 GLSUB00000906     None
RDX0488   12/06/2023       GLSUB00000928                 GLSUB00000932     None
RDX0489   12/19/2023       GLSUB00000898                 GLSUB00000903     None
RDX0490   12/23/2023       GLSUB00000945                 GLSUB00000951     None
RDX0491   02/28/2024       GLSUB00000726                 GLSUB00000732     None
RDX0492   03/05/2024       GLSUB00000753                 GLSUB00000763     None
RDX0493   03/08/2024       GLSUB00000679                 GLSUB00000693     None
RDX0494   03/08/2024       GLSUB00001617                 GLSUB00001626     None
RDX0495   03/26/2024       GLSUB00000711                 GLSUB00000725     None
RDX0496   04/22/2024       GLSUB00000664                 GLSUB00000678     None
RDX0497   04/29/2024       GLSUB00001007                 GLSUB00001014     None
RDX0498   05/01/2024       GLSUB00001015                 GLSUB00001029     None
RDX0499   05/02/2024       GLSUB00001030                 GLSUB00001033     None
RDX0500   05/06/2024       GLSUB00000652                 GLSUB00000663     None
RDX0501   05/09/2024       GLSUB00000764                 GLSUB00000836     None
RDX0502   05/21/2024       GLSUB00000694                 GLSUB00000710     None
RDX0503   05/24/2024       GLSUB00000743                 GLSUB00000752     None
RDX0504   06/05/2024       GLSUB00007194                 GLSUB00007196     None
RDX0505   06/18/2024       GLSUB00000733                 GLSUB00000742     None
RDX0506   07/25/2024       GLSUB00000973                 GLSUB00000989     None
RDX0507   08/19/2024       GLSUB00000837                 GLSUB00000862     None
RDX0508   09/16/2024       GLSUB00000875                 GLSUB00000887     None
RDX0509   09/24/2024       GLSUB00000863                 GLSUB00000874     None


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                                                                           Admitted into evidence subject to Plaintiffs’
RDX0510   11/18/2024      Perplexity_000393          Perplexity_000406     standing objection to any embedded
                                                                           hearsay contained therein.
RDX0511   01/24/2023       YAH‐LIT‐0110967            YAH‐LIT‐0110977      None
RDX0512   04/03/2024       YAH‐LIT‐0110908            YAH‐LIT‐0110927      None
RDX0513   04/24/2023       YAH‐LIT‐0110981            YAH‐LIT‐0110988      None
RDX0600   01/11/2021                                                       None
RDX0601   06/06/2022                                                       None
RDX0602   11/11/2024                                                       None
RDX0603   11/27/2024                                                       None
RDX0604   02/11/2025                                                       None
RDX0605   02/26/2025                                                       None
RDX0606   02/28/2025                                                       None
RDX0607   03/10/2025                                                       None
RDX0608                                                                    None
RDX0609                                                                    None
RDX0610                                                                    None
RDX0611                FBGOOGREM_000000175                                 None
                         MSFT‐LIT‐0000069817       MSFT‐LIT‐0000069824
RDX0612   03/28/2022     MSFT‐LIT‐0000069826       MSFT‐LIT‐0000069847     None
                         MSFTLIT‐0000070150
RDX0613   01/31/2025   MSLIT_DATA_0000000004                               None

RDX0614   02/22/2025   MSLIT_DATA_0000000005                               None
RDX0615   12/12/2024       GLSUB00000082                                   None
RDX0616                    GLSUB00001113                                   None
RDX0617   03/22/2024                                                       None
RDX0618   01/17/2025                                                       None
RDX0619   02/12/2025                                                       None
RDX0620   03/05/2025                                                       None
RDX0621   03/05/2025                                                       None


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                                  Defendant Google LLC's Admitted Exhibits and Demonstratives


    RDX0622         03/12/2025                                                       None
    RDX0623         03/12/2025                                                       None
    RDX0624         03/19/2025                                                       None
    RDX0625         03/19/2025                                                       None
    RDX0626         03/22/2025                                                       None
    RDX0627         03/26/2025                                                       None
    RDX0628         03/26/2025                                                       None
    RDX0629         03/26/2025                                                       None
    RDX0630         03/26/2025                                                       None
    RDX0631                                                                          None
    RDX0700         03/13/2025                                                       None
    RDX0701         03/23/2025                                                       None
    RDX0702         01/24/2025                                                       None
    RDX0703         02/18/2025                                                       None
    RDX0704         03/10/2025                                                       None
    RDX0705         03/12/2025                                                       None
    RDX0706         03/19/2025                                                       None
    RDX0707         03/25/2025                                                       None
    RDX0708         03/25/2025                                                       None
    RDXD‐01         04/21/2025                                                       Admitted as demonstratives.
    RDXD‐02         04/22/2025                                                       Admitted as demonstratives.
  RDXD‐03.001       04/22/2025                                                       Admitted as demonstratives.
    RDXD‐04         04/23/2025                                                       Admitted as demonstratives.
    RDXD‐06         04/23/2025                                                       Admitted as demonstratives.
    RDXD‐07         04/24/2025                                                       Admitted as demonstratives.

RDXD‐08.001, .003   04/24/2025                                                       Admitted as demonstratives.




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                                   Defendant Google LLC's Admitted Exhibits and Demonstratives




RDXD‐12.001, .002,
 .003, .005, .006,
 .007, .008, .009,
 .010, .011, .012,   04/25/2025                                                       Admitted as demonstratives.
 .013, .014, .015,
 .016, .017, .018,
    .019, .020




RDXD‐14.002, .004    04/28/2025                                                       Admitted as demonstratives.


RDXD‐15.002, .010    04/29/2025                                                       Admitted as demonstratives.

    RDXD‐16          04/29/2025                                                       Admitted as demonstratives.
    RDXD‐17          04/30/2025                                                       Admitted as demonstratives.
    RDXD‐18          04/30/2025                                                       Admitted as demonstratives.
    RDXD‐19          05/01/2025                                                       Admitted as demonstratives.




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                                   Defendant Google LLC's Admitted Exhibits and Demonstratives




RDXD‐20.001, .002,
 .003, .004, .006,
 .007, .008, .009,
 .010, .011, .012,
 .013, .014, .015,
 .016, .017, .018,
 .019, .020, .021,
 .022, .023, .024,
 .025, .026, .027,   05/01/2025                                                       Admitted as demonstratives.
 .028, .029, .030,
 .031, .032, .033,
 .034, .035, .036,
 .037, .038, .039,
 .040, .041, .042,
 .043, .044, .045,
 .046, .047, .048,
  .049, .050, .051




    RDXD‐21          05/02/2025                                                       Admitted as demonstratives.
  RDXD‐22.001        05/02/2025                                                       Admitted as demonstratives.

  RDXD‐23.001        05/02/2025                                                       Admitted as demonstratives.

  RDXD‐24.001        05/02/2025                                                       Admitted as demonstratives.



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                                  Defendant Google LLC's Admitted Exhibits and Demonstratives


    RDXD‐25         05/02/2025                                                       Admitted as demonstratives.
    RDXD‐27         05/02/2025                                                       Admitted as demonstratives.
    RDXD‐28         05/06/2025                                                       Admitted as demonstratives.
    RDXD‐29         05/06/2025                                                       Admitted as demonstratives.
    RDXD‐30         05/07/2025                                                       Admitted as demonstratives.
    RDXD‐31         05/07/2025                                                       Admitted as demonstratives.
    RDXD‐32         05/07/2025                                                       Admitted as demonstratives.
    RDXD‐33         05/08/2025                                                       Admitted as demonstratives.
    RDXD‐34         05/08/2025                                                       Admitted as demonstratives.
    RDXD‐35         05/09/2025                                                       Admitted as demonstratives.

RDXD‐36.009, .010   05/09/2025                                                       Admitted as demonstratives.




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